       Case 17-14445-mdc         Doc 34
                                     Filed 12/21/17 Entered 12/21/17 15:02:00                   Desc Main
                                     Document Page 1 of 1
                              UNITED STATES BANKRUTPCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       FRANCIS RAYNER                                Chapter 13
       TERRI RAYNER


                              Debtor                 Bankruptcy No. 17-14445-MDC


                                    Order Dismissing Chapter 13 Case and
                                 Directing Counsel to File Master Mailing List

        AND NOW, this ____________
                               21st        day of ___________________,
                                                     December                201_,
                                                                                 7 upon consideration of the Motion
to Dismiss filed by William C. Miller, standing trustee, this case is dismissed and it is further ORDERED, that
counsel for the debtor, shall file a master mailing list with the clerk of the Bankruptcy Court, currently updated
(if such has not been previously filed); and it is further

       ORDERED, that any wage orders are hereby vacated.




                                       _________________________________
                                                   Magdeline D. Coleman
                                                   Bankruptcy Judge

William C. Miller, Trustee
P.O. Box 1229
Philadelphia, PA 19105

Debtor’s Attorney:
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Debtor:
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